Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 1 of 7

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Attorney for Dennis Montgornery, Plaintiff

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

Plaintiff,
VERIFIED COMPLAINT
vs.
Jury Trial Demanded

KIT HOMEBUILDERS WEST, LLC,
Defendant.

 

 

COMES NOW, Plaintiff Dennis Montgomery by and through his attorney of record,
Greg Chaney, of the law firm Chaney Law Ofl`lce, PLLC, and for his causes of action against

Kit HomeBuilders West, LLC complains and alleges as follows:

PARTIES
l. At all times material hereto, Plaintiff Dennis Montgomery (hereinafter “Plaintifl”)

was and is a natural person and a resident of the State of Idaho.

VERIFIED COMPLAINT - PAGE l OF 7

Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 2 of 7

2. At all times material hereto, Defendant Kit HomeBuilders West, LLC (hereinafter
“Defendant”) was and is a limited liability company organized under the laws of the State

of Idaho with its principle place of business in Caldwell, Idaho.

JURISDICTION AND VENUE
3. Jurisdiction is proper in United States District Court because this lawsuit arises, from
discrimination in employment practices and is brought, inter alia, pursuant to the Americans
with Disabilities Act of 1990, as codified, 42 U.S.C. §§12112-12117.
4. Venue is proper in the District of Idaho in accordance with 42 U.S.C. §2()00€-5(f)(3)
and 42 U.S.C. §12117 since the discriminatory employment practices occurred in Caldwell,
Idaho; the employment records for Plaintiff are presumptively kept in the District; and

Defendant’s principal place of business is in Idaho.

 

GENERAL ALLEGATIONS
5. Plaintiff was employed by Defendant in its Caldwell, Idaho manufactured home plant
in 2017.
6. Plaintiff was assigned to the cabinetry department of the plant. The cabinetry

department is responsible for assembling and installing cabinets in the manufactured homes
Defendant builds.

7. Everyone who works in the cabinetry department, other than supervisors, have the
same job title.

8. Some who work in the cabinetry department are asked to help lift heavy objects,

others (primarily females) are not.

VERIFIED COMPLAINT - PAGE 2 OF 7

Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 3 of 7

9. Some members of the cabinetry department work primarily in the assembly of
cabinets. The assembly of cabinets does not require heavy lifting

lO. Part of the duties of the members of the cabinetry department included sweeping,
clean up, inspecting equipment, and pre-cutting cabinet components None of these tasks
require heavy lifting

ll. Plaintiff was an exemplary employee and did what was expected of him without
complaint or issue.

12. Soon after Plaintiff had been employed by Defendant long enough to have medical
insurance in effect, Plaintiff sought medical care for a previous back injury.

13. The doctor Plaintiff saw for his back wanted to run additional tests and placed him
on a temporary lifting restriction until the tests could conducted The restriction limited
Plaintiff’s lifting to forty (40) pounds or less.

14. Plaintiff presented his doctor’s note to Defendant’s agent.

15. Defendant’s agent subsequently told him that Defendant had a policy that nobody
could work for Defendant who wasn’t “one-hundred percent.”

16. Plaintiff asked Defendant for a little time to get his tests done so he could get cleared
to work with no restrictions, Defendant declined and terminated Plaintist employment
l7. Plaintiff asked Defendant’s agent if he’d qualify for unemployment; Defendant’s

agent advised him they’d oppose unemployment and allege that he quit his job.

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VERIFIED COMPLAINT - PAGE 3 OF 7

Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 4 of 7

FIRST CAUSE OF ACTION
FEDERAL LAW CLAlM: EMPLOYMENT DIsCRlMlNATloN oN THE BAsls oF DlsABlLlTY
AMERlCANs wlTH DlsABlLlTlES ACT oF 1990, 42 U.S.C. §§12112-12117
18. Plaintiff repeats and realleges each and every allegation set forth in Paragraphs l
through l7, inclusive, as though fully set forth herein.
l9. Defendant terminated Plaintiff’s employment due to an actual and/or perceived
disability, to wit: Plaintiffs back injury.
20. Defendant refused to make a reasonable accommodation for Plaintiff`s physical
limitation.
21. Defendant could have made a reasonable accommodation for Plaintiffs physical
limitation without causing an undue hardship on the operation of the business.
22. The Equal Employment Opportunity Commission (E.E.O.C.) has an ongoing
investigation into this matter and has not yet issued a right to sue letter. This matter is being
filed during the pendency of the E.E.O.C. investigation to preserve the state law
discrimination claim listed below as the Second Cause of Action the statute of limitations of
which would expire prior to the conclusion of the E.E.O.C. investigation Plaintiff reserves

the right to amend his pleadings once this threshold requirement is met.

SECOND CAUSE OF ACTION
STATE LAW CLAIM: EMPLOYMENT DlSCRlMlNATlON ON THE BASlS OF DlSABlLlTY
IDAHo CODE §67-5901 THRoUGH 67-5912
23. Plaintiff repeats and realleges each and every allegation set forth in Paragraphs l

through 22, inclusive, as though fully set forth herein.

VERIFIED COMPLAINT - PAGE 4 OF 7

Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 5 of 7

24. Defendant terminated Plaintiffs employment due to an actual and/or perceived

disability, to wit: Plaintiff s back injury.

25. Defendant refused to make a reasonable accommodation for Plaintiff s physical
limitation
26. Defendant could have made a reasonable accommodation for Plaintiffs physical

limitation without causing an undue hardship on the operation of the business.

27. Defendant’s physical limitation with a reasonable accommodation would not have
prevented the performance of the work required of a member of the cabinetry department
28. The Idaho Commission on Human Rights has conducted its investigation, found
probable cause that illegal discrimination occurred, and issued Plaintiff a right-to-sue letter

dated January 23, 2019.

THIRD CAUSE OF ACTION
NEGLlGENT lNFLlCTlON OF EMOTIONAL DlSTRESS
29. Plaintiff repeats and realleges each and every allegation set forth in Paragraphs l
through 28, inclusive, as though fully set forth herein.

30. Defendant had a legal duty as an employer to adhere to lawful employment practices.

3 l. Defendant breached its duty to adhere to lawful employment practices.
32. As the direct and proximate result of Defendant’s breach, Plaintiff was injured
33. Plaintiff suffered actual loss and/or damage as a result of his injury.

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VERIFIED COMPLAINT - PAGE 5 OF 7

Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 6 of 7

ATTORNEYS’ FEES AND COSTS
To bring this suit, Plaintiff has retained the services of CHANEY LAW OFFICE,
PLLC and is entitled to an award of reasonable attorneys’ fees and costs pursuant to 42
U.S.C. §ZOOOe-S(k), Idaho Code §§ l2-l20(3) and 12-123, and Rule 54 ofthe Federal Rules

of Civil Procedure.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays for judgment as follows:

l. Reimbursement of all actual damages including back pay for wages lost and not
mitigated by subsequent employment, front pay for a period of five (5) years, medical
expenses, and any and all further damages established at trial;

2. Compensatory damages in the amount of two-hundred thousand dollars ($200,000);
3. For reasonable attorneys’ fees and costs in such amounts as the Court may find
reasonable if this matter is contested; and

4. F or such other and further relief as the Court deems just and proper.
DATED this [ 232 day Of Aprii 2019.

CHANEY LAW OFFICE, PLLC

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Gr'eg Chaney
Attorneyfor Plaintiff

VERIFIED COMPLAINT - PAGE 6 OF 7

Case 1:19-CV-0014O-REB Document 1 Filed 04/19/19 Page 7 of 7

VERIFICATION
STATE OF IDAHO )

) ss.
COUNTY OF CANYON )

I, Dennis Montgomery, being first duly sworn on oath deposes and states:

That he is the Plaintiff in the above-entitled action, that he has read the foregoing document
and knows the contents thereof, and that the statements therein made are true and correct to
the best of his information, knowledge, and belief.

Signed:

CK

Dennis Montgomery\_/)

SUBSCRIBED AND SWORN to before me this / 714/14 day of April 2019.

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VERIFIED COMPLAINT - PAGE 7 OF 7

